     Case: 0:15-cv-00112-HRW Doc #: 1 Filed: 12/09/15 Page: 1 of 3 - Page ID#: 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION AT ASHLAND
                                 Case No. ________________

Ray Fultz, Executor of the                                                           PLAINTIFF
Estate of Plummer Fultz

v.

Diversicare Leasing Corp. d/b/a
Elliott Nursing & Rehabilitation Center                                            DEFENDANT

                                   NOTICE OF REMOVAL

        Defendant, Diversicare Leasing Corp. d/b/a Elliott Nursing & Rehabilitation Center,

hereby removes to the United States District Court for the Eastern District of Kentucky, Ashland

Division, the action captioned Ray Fultz, Executor of the Estate of Plummer Fultz v. Diversicare

Leasing Corp. d/b/a Elliott Nursing & Rehabilitation Center, Case No. 15-CI-00098, which is

currently pending in Elliott Circuit Court, in the Commonwealth of Kentucky. As grounds for its

removal of the Action, Defendant states as follows:

        1.     On or about November 6, 2015, Ray Fultz, as Executor of the Estate of Plummer

Fultz (“Plaintiff”), filed a Complaint in Elliott Circuit Court, Case No. 15-CI-00098.

        2.     Defendant, Diversicare Leasing Corp. d/b/a Elliott Nursing & Rehabilitation

Center, was served with a summons and a copy of the Complaint on November 13, 2015, through

its agent for service of process, Corporation Service Company.

        3.     Upon information and belief, Plummer Fultz, deceased, was a citizen of Kentucky

at the time of his death. Therefore, for purposes of diversity jurisdiction, Ray Fultz, as Executor

of the Estate of Plummer Fultz, is deemed to be a citizen of Kentucky. Ray Fultz has asserted in

the Complaint that he is a resident of Olive Hill, Carter County, Kentucky.
   Case: 0:15-cv-00112-HRW Doc #: 1 Filed: 12/09/15 Page: 2 of 3 - Page ID#: 2



       4.      Defendant, Diversicare Leasing Corp. d/b/a Elliott Nursing & Rehabilitation

Center, at all times relevant hereto, including and at the time of filing this Notice of Removal and

at the commencement of Civil Action No. 15-CI-00098, was and is a foreign corporation organized

under the laws of the state of Tennessee. Diversicare Leasing Corp.’s principal place of business

is in Brentwood, Tennessee.

       5.      Based on the allegations raised in the Complaint attached hereto, Defendants

believe that Plaintiff seeks in excess of $75,000.00 in damages, exclusive of interests and costs.

       6.      This action is one over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C. § 1332(a)(1) and is one that may be removed to this Court pursuant to 28

U.S.C. § 1441(a). This is an action between citizens of different states.

       7.      This Notice of Removal is filed within thirty (30) days after Defendants received a

copy of Plaintiff’s Complaint, as required by 28 U.S.C. § 1446(b).

       8.      A copy of this Notice of Removal will be filed with the Clerk for the Greenup

Circuit Court in the Commonwealth of Kentucky and served upon other counsel of record.

                                              Respectfully submitted,

                                              GWIN STEINMETZ & BAIRD, PLLC
                                              /s/ Michael F. Sutton________________
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                                              Counsel for Defendant
   Case: 0:15-cv-00112-HRW Doc #: 1 Filed: 12/09/15 Page: 3 of 3 - Page ID#: 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 9, 2015, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to
the following: Michael F. Sutton and Sarah E. Tilley. I additionally certify that a true and accurate
copy of the foregoing was served via U.S. mail, first class, postage prepaid, on December 9, 2015
upon:

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                                              /s/ Michael F. Sutton________________
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